                           Case 23-10597-BLS              Doc 714       Filed 12/08/23         Page 1 of 2




                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

             In re:                                                  Chapter 11

             Desolation Holdings LLC, et al.,1                       Case No. 23-10597 (BLS)

                      Wind Down Entity.                              (Jointly Administered)

                                                                     Re: Docket No. 590

                       CERTIFICATE OF NO OBJECTION REGARDING DOCKET NO. 590

                            The undersigned hereby certifies that, as of the date hereof, he has received no

         answer, objection, or other responsive pleading to the Plan Administrator’s Objection to Claim

         C598-388 Filed by Julian Coleman Pursuant to Section 502 of the Bankruptcy Code and

         Bankruptcy Rule 3007 [Docket No. 590] (the “Objection”) filed with the United States Bankruptcy

         Court for the District of Delaware (the “Court”) on November 20, 2023.

                            The undersigned further certifies that, as of the date hereof, he has reviewed the

         Court’s docket in these cases and no answer, objection, or other responsive pleading to the

         Objection appears thereon.             Responses to the Objection were to be filed and served by

         4:00 p.m. (ET) on December 4, 2023.

                            As no responses to the Objection have been received, it is hereby respectfully

         requested that the proposed order attached to the Objection be entered at the earliest convenience

         of the Court.




         1
               The Debtors in these chapter 11 cases, along with the last four digits of each Debtor entity’s tax identification
               number, are: Desolation Holdings LLC (0439); Bittrex, Inc. (0908); Bittrex Malta Holdings Ltd. (2227); and
               Bittrex Malta Ltd. (1764). The mailing and service address of the Debtors is 701 5th Avenue, Suite 4200, Seattle,
               WA 98104.
31040944.1
                        Case 23-10597-BLS   Doc 714    Filed 12/08/23   Page 2 of 2




             Dated: December 8, 2023           YOUNG CONAWAY STARGATT &
             Wilmington, Delaware              TAYLOR, LLP

                                               /s/ Kenneth J. Enos
                                               Robert S. Brady (Delaware Bar No. 2847)
                                               Kenneth J. Enos (Delaware Bar No. 4544)
                                               Rodney Square
                                               1000 North King Street
                                               Wilmington, Delaware 19801
                                               Telephone: 302-571-6600
                                               Facsimile: 302-571-1253
                                               Email: rbrady@ycst.com
                                               Email: kenos@ycst.com

                                               -and-

                                               QUINN EMANUEL URQUHART &
                                               SULLIVAN, LLP

                                               Susheel Kirpalani (admitted pro hac vice)
                                               Patricia B. Tomasco (admitted pro hac vice)
                                               Daniel Holzman (admitted pro hac vice)
                                               Alain Jaquet (admitted pro hac vice)
                                               Razmig Izakelian (admitted pro hac vice)
                                               Valerie Ramos (admitted pro hac vice)
                                               Joanna D. Caytas (admitted pro hac vice)
                                               51 Madison Avenue, 22nd Floor
                                               New York, New York 10010
                                               Telephone: 212-849-7000
                                               Facsimile: 212-849-7100
                                               Email: susheelkirpalani@quinnemanuel.com
                                               Email: pattytomasco@quinnemanuel.com
                                               Email: danielholzman@quinnemanuel.com
                                               Email: alainjaquet@quinnemanuel.com
                                               Email: razmigizakelian@quinnemanuel.com
                                               Email: valerieramos@quinnemanuel.com
                                               Email: joannacaytas@quinnemanuel.com

                                               COUNSEL FOR THE PLAN
                                               ADMINISTRATOR




31040944.1
                                                  2
